Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 1 of 7 PageID #: 26



                               GLASS KRAKOWER LLP
                         ATTORNEYS AND COUNSELORS AT LAW
                              A Limited Liability Partnership
                                 100 CHURCH STREET, 8TH FLOOR
                                      NEW YORK, NY 10007
20 BROADWAY, SUITE 1                                                 169 S. MAIN STREET # 321
VALHALLA, NY 10595                                                   NEW CITY, NY 10956
                                          212-537-6859
                                       FAX NO. 845-510-2219

                                     E mail: bg@glasskrakower.com
                                      -



Bryan D. Glass
  Partner
                                          July 25, 2012

Via ECF
Honorable Roslynn R. Mauskopf
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                      Re:     Portelos v. City of New York et al.,
                              12 CV 3141 (RRM)(JMA)
Dear Judge Mauskopf

        In accordance with Your Honor's individual rules, I write in opposition to Defendants'
letter request, dated July 20, 2012, for a pre-motion conference seeking permission to file a
motion to dismiss the complaint filed in the above-referenced action. Defendants' request is
entirely premature at this juncture before discovery has even commenced in this matter and there
are various issues of material fact to be adjudicated herein. Therefore, permission for
Defendants to file a motion to dismiss at this stage should be denied as meritless and futile.

        Plaintiff tenured teacher was a stellar performer and had no problems at his school until
he raised serious issues of fraud and mismanagement by the administration of his school as part
of his School Leadership Team duties, which is comprised of parents and community members
as well as teaching staff members. These fraud and mismanagement issues adversely affected
not only his place of employment, but the community at large.

        Without any factual development of the record whatsoever, Defendants have made
wholly conclusory allegations that Plaintiff was speaking not as a citizen but only in his official
capacity as a teacher when reporting this fraud and mismanagement at the school, (which
appears to continue unabated by NYCDOE administration, while Plaintiff has been retaliated
against in multiple ways, including, inter alia, seizure of his personal property, removal from his
                                                  1
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 2 of 7 PageID #: 27



school and a ban DOE email systems, loss of per session and summer pay opportunities, and
commencement of an ongoing "investigation" against him without any end date in sight).

       The Second Circuit and other Courts, including the Supreme Court, have repeatedly
concluded that a teacher can maintain a viable First Amendment retaliation claim against a
school district despite being employed by the district as a public schoolteacher. See, e.g,
Pickering v. Board of Education, 391 U.S. 563 (1968); Nagle v. Marron, 663 F.3d 100 (2d Cir.
2011); see also Cioffi v. Averill Park Board of Education, 444 F.3d 1589 (2d Cir. 2006); Givhan
v. Western Line Consol. School District, 439 U.S. 410 (1979).

        Defendants further mischaracterize Plaintiff's complaint when they seek to analogize
Plaintiffs complaints to concerns merely about curriculum and general on the job concerns.
Plaintiff has pled and made allegations far beyond the mere filing of a grievance about his "core
duties" about "maintaining discipline" as a teacher in his complaint, including documenting
ongoing fraud by administration and lack of oversight at the school. Therefore, this case is far
distinguishable from Defendants' reliance on Weintraub v.Board of Education, 593 F.3d 196 (2d
Cir. 2010) and Dorcely v. Wyandanch Union Free School District, 665 F.Supp.2d 178 (E.D.N.Y.
2009), cases which dealt with internal teacher-related complaints. In addition, these cases were
ultimately decided after discovery in summary judgment motions, not upon a Rule 12(b)(6)
motion to dismiss the complaint.

        Defendants are further incorrect regarding Plaintiff's Civil Service Law 75-b claim.
Clearly, the Court has every reason to maintain jurisdiction over the state law claim given the
very viable First Amendment retaliation claim in this action. Furthermore, Defendants are
further simply misinformed by claiming that Plaintiff failed to file a timely notice of claim
regarding his Civil Service Law 75-b claim; he in fact did a notice of claim in May 2012 (a copy
which is attached), and Defendants have failed to take any action to investigate the allegations
therein to date.

         Should the Court find it necessary for Plaintiff to amend his complaint at this stage, we
would be happy to do so, although Plaintiff maintains that it does not appear necessary to do so
at this early stage of the litigation. Therefore, based on the above, Defendants' request for a pre-
motion conference should be dismissed as entirely premature.

       Thank you very much for your consideration.

                                                      Respectfully submitted,

                                                          7"-
                                                      B ryan D. Glass, Esq.

                                                  2
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 3 of 7 PageID #: 28



Attachment (Notice of Claim)

c:     Christopher Seacord, Assistant Corporation Counsel, Attorney for Defendants (via ECF)




                                              3
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 4 of 7 PageID #: 29



                       WRITTEN VERIFIED NOTICE OF CLAIM                                     A
                  (Pursuant to New York State Education Law Section 3813)

   TO: City of New York Comptroller's Office
         c/o Corporation Counsel of the City of New York
         100 Church Street, 4 th Floor
         New York, NY 10007

          New York City Department of Education
          c/o Corporation Counsel of the City of New York
          100 Church Street, 4 th Floor
          New York, NY 10007

          Dennis Walcott, Chancellor
          New York City Department of Education
          c/o Corporation Counsel of the City of New York
          100 Church Street, 4 th Floor
          New York, NY 10007


          PLEASE TAKE NOTICE that Francesco Portelos ("Claimant") has a claim

   against Respondents City of New York, New York City Department of Education

   ("NYCDOE"), and Dennis Walcott, Chancellor of the New York City Department of

   Education, pursuant to 42 U.S.C. Section 1983 and Civil Service Law Section 75-b, and

   any related city or state whistleblower laws, for retaliation under the First Amendment,

   and for violations of city and state whistleblower laws since November 2011, after he

   reported, inter alia, discrepancies in budget allocations at School Leadership Team

   meetings, the principal's illegal after school per session activities, illegal recordkeeping

   by school administration, and violations to Chancellor's Regulation A-655 by the School

   Leadership Team (SLT) chairperson and principal. His damages include, but are not

   limited to, reassignment from his teaching duties, loss of per session work and tutoring

   and promotional opportunities, and seizure of and lack of recompense for personal

   property from his school classroom.




                                                1
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 5 of 7 PageID #: 30




       1, Claimant's Post Office Address is 52 Wiman Place, Staten Island, NY 10305,

          phone number 347-564-7597

       2. Claimant has selected Glass Krakower LLP (Bryan Glass, Esq.), 100 Church

          Street, 8 th Floor, New York, NY 10007, telephone number (212) 537-6859, as

          his attorney to represent him in connection with the claim.

       3. Since September 2007, Claimant has worked as a Science Technology

          Engineering & Math (STEM) teacher for the NYCDOE at Berta A. Dreyfus

          IS 49, a middle school in Staten Island, NY, under the supervision of Principal

          Linda Hill.

       4. Claimant only received positive evaluations and recommendations until

          December 2011, when he raised questions about ethical practices and

          inappropriate conduct at a School Leadership Team meeting.

       5. In January 2012, Claimant also reported allegations of double dipping by the

          school administration to the Special Commissioner of Investigation (SCI).

       6. Within a month of his report of misconduct by administration, Claimant's

          personal email and website he had developed for the school were suspended,

          and he received three unwarranted disciplinary letters within 10 days in

          February 2012. Claimant also received his first ever Unsatisfactory rating on

          an observation of his teaching in March 2012.

       7. On or about February 28, 2012, SC1 investigators came to Claimant's school

          and removed computer and other equipment from his classroom. They also

          came to his home to seize school equipment he had been allowed by the

           school to take home.
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 6 of 7 PageID #: 31



        8. On or about April 26, 2012, Claimant has been removed from the school and

           has not been able to return to even retrieve personal possessions from his

           classroom, and as of May 2012, his NYCDOE email accounts have been

           suspended.

        9. To date, Plaintiff has lost, inter alia, per session work and tutoring

           opportunities, personal possessions, and potential promotional advancement

           opportunities.

        10. Since the claim involves a continuing wrong against the Claimant, the exact

           dollar amount and value of the claim is not ascertainable at this time.




                                             3
Case 1:12-cv-03141-LDH-VMS Document 4 Filed 07/25/12 Page 7 of 7 PageID #: 32



                                      VERIFICATION

   STATE OF NEW YORK )
   COUNTY OF NEW YORK )                 ss:

          Francesco Portelos, being duly sworn, deposes and states that he is the Claimant
  named in the written claim, that he has read the foregoing claim and knows the contents
  thereof, and states that the claim is true to his own knowledge.


                                               FRANCESCO PORTELOS

  Subscribed and sworn to before
  me this le'tlay of May 2012.

  Notary Public

             BRYJ N GLASS
   NOTARY PUBLIC, STATE OF NEW YORK
            NO. 02GL6068978
     QUALIFIED IN
 COMMISSION LXPIRES
                         counrrt




                                               4
